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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                              )      Chapter 7
                                                    )
Yuri Birg,                                          )      Bankruptcy No. 17-10670
                                                    )
                      Debtor.                       )      Honorable A. Benjamin Goldgar
_________________________________________ )
                                                    )
Ilene F. Goldstein, not individually, but solely as )
trustee for the Estate of Yuri Birg,                )
                                                    )
                      Plaintiff,                    )
                                                    )
  vs.                                               )
                                                    )
Ilana Birg,                                         )
                                                    )
                      Defendant.                    )

                                  NOTICE OF OBJECTION

         Harrison & Held, LLP and Mary-Ann Wilson (“Respondents”), by their attorney,

Bruce M. Friedman, submit this Notice of Objection objecting to the relief sought in the

Trustee’s Motion to Compel Harrison & Held to Comply with Subpoena Duces Tecum (the

“Motion). In support of this Notice of Objection, Respondents state as follows:

         BACKGROUND

         In December, 2019, Respondents received a Subpoena to Produce Documents (the

“Subpoena”) issued by the Trustee’s attorney. The Subpoena requested production of all

documents in Respondents’ possession relating to a Postnuptial Agreement (the “Postnuptial

Agreement”) entered into between Ilana Birg (“Ilana”) and Yuri Birg, the Debtor in this case

(“Yuri”). The Trustee has filed an Adversary Complaint against Ilana asserting that certain
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transfers to Ilana pursuant to the Postnuptial Agreement were fraudulent and therefore voidable

(the “Adversary Action”).

         Respondents represented Ilana with respect to the negotiation, preparation and execution

of the Prenuptial Agreement. Hence, Respondents have many documents in their possession

relating to the Prenuptial Agreement -- many of which are privileged communications or work

product.

         While Respondents represented Ilana with respect to the preparation of the Prenuptial

Agreement, Respondents do not represent Ilana in the Adversary Action and have no authority to

take any action on Ilana’s behalf with respect to the Adversary Action.

         On January 28, 2020, Joel Schecter (“Schecter”), Illana’s attorney in the Adversary

Action, sent a letter to the Trustee’s attorney (Motion, Ex. 3) objecting to Respondents’

production of documents pursuant to the Subpoena on the grounds that the documents requested

were subject to either the attorney-client privilege or the work product privilege. A copy of this

letter was sent to Respondents’ attorneys putting Respondents on notice that Ilana was asserting

privilege as to “most” of the documents requested in the Subpoena.

         On January 28, 2020, Respondents’ attorney sent a letter to the Trustee’s attorney

(Motion, Ex. 4) informing the Trustee that (i) Respondents had received Schecter’s letter

asserting Illana’s privilege claim as to the documents requested in the Subpoena and

(ii) Respondents’ would withhold production of the documents requested in the Subpoena until

Ilana’s privilege claim was resolved, either by agreement or by ruling of the Bankruptcy Court.

         DISCUSSION

         Illana’s privilege claim put Respondents between a rock and a hard place. On the one

hand, having been put on notice that Illana was asserting privilege with respect to most of the



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documents covered by the Subpoena, Respondents could not ethically surrender these documents

without violating their confidentiality obligations under applicable law.

          On the other hand, Respondents do not represent Ilana in the Adversary Action and

therefore have no authority (i) to take any action on Illana’s behalf in the Adversary Action or

(ii) to assert any privilege on Ilana’s behalf in the Adversary Action. Specifically, Respondents

had no authority (i) to determine on Illana’s behalf which documents requested in the Subpoena

were subject to privilege and which were not or (ii) to prepare any privilege log on Ilana’s

behalf.

          Simply put, Respondents have no stake in the resolution of the privilege issue raised by

Illana. This is an issue that must be resolved between the Trustee and Illana -- either by

agreement or otherwise. However, Respondents could not ethically turn over the documents

requested in the Subpoena after being put on notice that Ilana was asserting that most of the

documents were subject to privilege.

                                               Respectfully submitted,



                                               By:_/s/ Bruce M. Friedman________________
                                                  Attorney for Respondents


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